 JS 44 (Rev. 04/2 I)                                                     Case 2:23-cv-00039-cr
                                                                                          CIVILDocument
                                                                                                 COVER1-2 Filed 02/15/23 Page 1 of 1
                                                                                                        SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
                                                                                                                                                                                                                                                                                                                                                  1
 provided by local rules of court. This fom1, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a) PLAINTIF~S                                                                                       -\,-.-                                                                                                   DEFENDANTS                                                         '                              .J_
                  €..-~4,..._..,,-.:r,.:--~t,..-\\·L.()....... n .                                                                                                                                                                         l"""....-...vl"-'t,&,--.(;,,t,•.:. .
                                                                                                                                                                                                                          eo..tle.J~ ".C-H..,,...
                  ~1' N•,_-... ) "---:,; Li a<:,_ \<-4.• ~4..W'-J-.                                                                                                                                                  Po.r:C'~ a...;.rr.Jol~ 1tv<-1". ,-t .~ l.
       (b) County of Residence of First Listed Plaintiff                                                                        C.,h,_~iT;c.. _ ftt CE                                                           t l l : Usidence ofFirst Listed Defendant                                                       /"'..-4 ·rl-tc,,,_)t,t\-
                                                               (EXCEPT IN U.S. PLAJNTIFF CASES)
                                                                                                                                                      I                                                               0        :
                                                                                                                                                                                                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                                                                                                         LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                                                                                       THE TRACT OF LAND INVOLVED.

       (C)          Attorneys (Firm Name, Address, and Telephone Number)                                                                                                                                           2.etaeys (If Known)

 II. BASIS OF JURISDICTION (Place an                                                                               "X" in One Box Only)                                                                                                   P OF PRINCIPAL PARTIES (Place an                                                "X" in One Box.for Plaintiff
                                                                                                                                                                                                           (For Diversity Cases Only)                                                                            and One Box /or Defendant)
D1            U.S. Government                                           ~3              Federal Question                                                                                                                                                     PTF           DEF                                                               PTF            DEF
                Plaintiff                                                                 (U.S. Government Not a Party)                                                                         Citizen of This State                                        ~    I      ~       I       Incorporated or Principal Place                      D      4      D 4
                                                                                                                                                                                                                                                                                           of Business In This State

D2            U.S. Government                                            04             Diversity                                                                                               Citizen of Another State                                     D    2      D       2       Incorporated and Principal Place                     □ s           Os
                 Defendant                                                                (Indicate Citize11ship of Parties ill Item III)                                                                                                                                                  of Business In Another State

                                                                                                                                                                                                Citizen or Subject of a                                      D    3      D       3       Foreign Nation
                                                                                                                                                                                                  Foreign Country
 IV. NATURE OF SUIT (Place an                                                               "X " i11 One Box Only)                                                                                                                                               Click here for: Nature of Suit Code Descri tions.
                     CONTRACT                                                                TORTS                                                                                                   FORFEITURE/PENALTY




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       110 Insurance                                                          PERSONAL INJURY     PERSONAL INJURY                                                                                     625 Drug Related Seizure                                          422 Appeal 28 USC 158                                            375 False Claims Act
       120 Marine                                                            310 Airplane                                         D 365 Personal Injury -                                                 of Property 21 USC 881                                        423 Withdrawal                                                   376 Qui Tam (31 USC
       130 Miller Act                                                        315 Airplane Product                                        Product Liability                                            690 Other                                                             28 USC 157                                                       3729(a))
       140 Negotiable Instrument                                                  Liability                                       □ 367 Health Care/                                                                                                                          INTELLECTUAL                                               400 State Reapportionment
       150 Recovery of Overpayment                                           320 Assault, Libel &                                       Pharmaceutical                                                                                                           l::=:-Pa..R=O-"P.;;E;;;R.;.TYa...;..;;;Rl;;;.;;G.;;;H.;.Ta,;S;;....--t~ 41 OAntitrust
           & Enforcement of Judgment                                              Slander                                               Personal Injury                                                                                                                    820 Copyrights                                                430 Banks and Banking

8      151 Medicare Act
       152 Recovery of Defaulted
            Student Loans
                                                                             330 Federal Employers'
                                                                                  Liability
                                                                             340 Marine
                                                                                                                                        Product Liability
                                                                                                                                  D 368 Asbestos Personal
                                                                                                                                         Injury Product
                                                                                                                                                                                                                                                                           830 Patent
                                                                                                                                                                                                                                                                           835 Patent. Abbreviated
                                                                                                                                                                                                                                                                                 New Drug Application
                                                                                                                                                                                                                                                                                                                                         450 Commerce
                                                                                                                                                                                                                                                                                                                                         460 Deportation
                                                                                                                                                                                                                                                                                                                                         470 Racketeer Influenced and
            (Excludes Veterans)                                              345 Marine Product                                          Liability                                                                                                                         840 Trademark                                                     Corrupt Organizations
D

D
       153 Recovery of Overpayment
           of Veteran's Benefits
       160 Stockholders' Suits
                                                                                  Liability
                                                                             350 Motor Vehicle
                                                                             355 Motor Vehicle
                                                                                                                                  8   PERSONAL PROPERTY
                                                                                                                                    370 Other Fraud
                                                                                                                                    371 Truth in Lending
                                                                                                                                                                                                                        LABOR
                                                                                                                                                                                                                                710 Fair Labor Standards
                                                                                                                                                                                                                                    Act
                                                                                                                                                                                                                                                                           880 Defend Trade Secrets
                                                                                                                                                                                                                                                                                 Act of2016
                                                                                                                                                                                                                                                                                                                                         480 Consumer Credit
                                                                                                                                                                                                                                                                                                                                             (15 USC 1681 or 1692)
                                                                                                                                                                                                                                                                                                                                         485 Telephone Consumer
D      190 Other Contract                                                        Product Liability                                D 380 Other Personal                                                                          720 Labor/Management             1--"'soc"'"""'IAL""""''"'s"'E=,C""URI="'yy=,-----4~                         Protection Act
D      195 Contract Product Liability                                        360 Other Personal                                         Property Damage                                                                             Relations                           861 HIA ( 1395ft)                                 490 Cable/Sat TV
D      196 Franchise                                                             Injury                                           D 385 Property Damage                                                                         740 Railway Labor Act                   862 Black Lung (923)                              850 Securities/Commodities/
                                                                             362 Personal Injury -                                      Product Liability                                                                       751 Family and Medical                  863 DIWC/DIWW (405(g))                                Exchange
                                                                                 Medical Malpractice                                                                                                                                Leave Act                           864 SSID Title XVI                                890 Other Statutory Actions
                    REAL PROPERTY                                                              CIVIL RIGHTS                                                   PRI ONER PETITIONS                                                790 Other Labor Litigation              865 RSI (405(g))                                  891 Agricultural Acts
l-r:2:-:l-;:O-;L.;;;a;;;;n-:'d~C;Co..;nd':-e;;.m;;.n;;;.a;;.;ti""on.;;;..._ _,1ic,r"".4:":4'::-o'::o~t:"he'-rC;C::,i;;;.vi':'I'::R""ig-:-h-:-ts--t-..;;;.;;:':H:"a~b;,;;ea..;s":C::'o""'r..;p;.;u...;s:........;;....;;....-t==i791 Employee Retirement                                                                   893 Environmental Matters
  220 Foreclosure                                                            441 Voting                                                   463 Alien Detainee                                                  Income Security Act                                t---,,,==,..,.,,...,,====--t--1                          895 Freedom of Information
  230 Rent Lease & Ejectment                                                 442 Employment                                               510 Motions to Vacate                                                                                                          870 Taxes (U.S. Plaintiff                            Act
  240 Torts to Land                                                          443 Housing/                                                     Sentence                                                                                                                       or Defendant)                                896 Arbitration
  245 Tort Product Liability                                                     Accommodations                                           530 General                                                                                                                    871 IRS-Third Party                              899 Administrative Procedure
D 290 All Other Real Property                                                445 Amer. w/Disabilities -                                   535 Death Penalty                                                                                                                   26 USC 7609                                     Act/Review or Appeal of
                                                                                 Employment                                               Other:                                                                                                                                                                              Agency Decision
                                                                             446 Amer. w/Disabilities -                                   540 Mandamus & Other                                                                                                                                                            950 Constitutionality of
                                                                                 Other                                                    550 Civil Rights                                                    Actions                                                                                                         State Statutes
                                                                             448 Education                                                555 Prison Condition
                                                                                                                                          560 Civil Detainee -
                                                                                                                                              Conditions of
                                                                                                                                              Confinement
 V. ORIGIN (Place an "X" in One Box Only)
1"ilf l Original                                 D2 Removed from
                                                                                                               □ 3               Remanded from                                     D4           Reinstated or                      D        5 Transferred from                           D6 Multidistrict                        D8         Multidistrict
P             Proceeding                                      State Court                                                        Appellate Court                                                Reopened                                      Another District                                   Litigation -                               Litigation -
                                                                                                                                                                                                                                              (specify)                                          Transfer                                   Direct File
                                                                                 Cite the U.S .                                                                                                                                      isdictional statutes unless diversity):




 VII. REQUESTED IN                                                              0          CHECK IF THIS IS A CLASS ACTION                                                                            DEMAND$                                                                     CHECK YES only if demanded in complaint:
      COMPLAINT:                                                                           UNDER RULE 23, F.R.Cv.P.                                                                                                                                                               JURY DEMAND:                              □ Yes             0No

 VIII. RELATED CASE(S)
                                                                                       (See instn,ctions):
       IF ANY                                                                                                                       JUDGE
                                                                                                                                          SIGNATURE OF ATTORNEY OF RECORD




       RECEIPT#                    3Lf O                        AMOUNT                      1< 4 D~ . OD                                          APPLYING IFP - { \ )
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                                                                                                                                                                                                           A                                                                                       MAG.JUDGE
